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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

 In re: CCA Recordings
 2255 Litigation,
                                                             Case No. 19-cv-2491-JAR-JPO
                   Petitioners,

 v.                                                          (This Document Relates to All Cases.)

 United States of America,

                   Respondent.

               GOVERNMENT’S NOTICE REGARDING APPLICATION OF
                  THE COURT’S ORDERS TO PARTICULAR CASES

         On March 10, 2021, certain petitioners provided notice (Doc. 793) of their view of

whether and how the Court’s recent rulings (Docs. 730, 784) apply to their cases. The

government agrees with much of the petitioners’ notice. But because the notice is not

comprehensive and appears to misapply the Court’s rulings regarding Tollett v. Henderson, 411

U.S. 258 (1973), the government now provides notice of its view of how the Court’s rulings

apply to each of the consolidated cases. 1

         This notice and the chart attached are limited to the application of the Court’s rulings in

Docs. 730 and 784. The notice and chart do not address all of the government’s defenses and

should not be construed as abandoning any defense or argument. Instead, the notice and chart are

intended to assist the Court in applying its rulings to specific cases. The chart should speak for

itself, but in summary, 13 petitioners are subject to immediate dismissal of their entire 28 U.S.C.

§ 2255 motion (in addition to the six the Court dismissed on March 22 and 23, 2021), 50 others


         1
           The government’s chart represents the government’s view of how the Court’s rulings in Docs. 730 and
784 apply in each of the petitioners’ cases. In providing this notice and the attached chart, the government does not
waive or forfeit any defense or argument. Nor does it abandon its request that every petitioner’s 28 U.S.C. § 2255
motion be dismissed immediately for failure to allege a Sixth Amendment claim. If the Court would like an
electronic version of the government’s chart, government counsel would be happy to provide it.
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are subject to total dismissal under Tollett, and 25 other petitioners’ challenges to their

convictions are subject to dismissal. Stated differently, setting aside the petitioners whose § 2255

motions are subject to dismissal under Tollett, only 37 petitioners’ § 2255 motions survive the

Court’s two orders (Docs. 730 and 784). Of those, 25 can only challenge their sentences and one

(Vernon Brown) can only challenge his conviction. Eight others are subject to partial dismissal

for various reasons. For each of the petitioners, the government has asserted case-specific

defenses that require dismissal of each petitioner’s § 2255 motion.

       The one issue that appears to require explanation in light of the petitioners’ notice is the

application of the Court’s rulings regarding Tollett. The Court has ruled on this issue twice. See

Doc. 730; Doc. 784. Yet it appears the petitioners refuse to accept those rulings. See Doc. 756;

Doc. 793. Their notice attempts to evade, and in effect alter, this Court’s rulings under Tollett.

See Doc. 793 at 6-7; Doc. 793-1 (Table C). The Court’s rulings make clear that any Sixth

Amendment intentional-intrusion claim that is based on a recording the government obtained

before the petitioner pled guilty is subject to dismissal in its entirety under Tollett. See Doc. 730

at 39-42; Doc. 784 at 9-12, 15-16. For any petitioner who asserts Sixth Amendment claims based

only on soundless videos, this means the petitioner’s entire § 2255 motion is subject to dismissal

under Tollett if the petitioner pled guilty after May 17, 2016, when the U.S. Secret Service

received hard drives containing the soundless video recordings. See Doc. 784 at 9-12, 15-16. In

discussing Petitioner Luis Villa-Valencia, the petitioners’ notice acknowledges that this is what

the Court has ruled. See Doc. 793 at 9 (“[B]ecause Mr. Villa-Valencia pleaded guilty after the

USSS obtained the videos on May 17, 2016, his video-based challenge to his conviction is

subject to dismissal unless he amends his § 2255 motion.”). But in separating other petitioners

into Tables A, B, C, and D, the petitioners’ notice elides this ruling.



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         The petitioners’ notice states that “the Court intends to dismiss the video-only petitioners’

challenges to their convictions if they pleaded guilty before the [U.S. Secret Service] obtained

the videos,” Doc. 793 at 6 (citing Doc. 730 at 54; Doc. 784 at 9, 13), and “intends to dismiss the

video-only petitioners’ challenges to their sentences if . . . they pleaded guilty after August 9,

2016,” Doc. 793 at 6 (emphasis added) (citing Doc. 784 at 16, 27). The second category of

video-only petitioners—those who pled guilty after August 9, 2016—appears to refer to

petitioners who are subject to dismissal under Tollett. 2 See Doc. 784 at 15-16. But the petitioners

mischaracterize the Court’s clear rulings regarding its temporal classification of the petitioners’

claims and its intended application of Tollett to the petitioners’ cases. The Court has concluded

that, with respect to claims based on soundless video recordings, “the earliest date a violation

could have occurred is May 17, 2016,” 3 Doc. 784 at 13, and that “where a petitioner challenges

his conviction and the government obtained the video recordings prior to that petitioner’s guilty

plea, Tollett applies to the alleged pre-plea violation,” Doc. 784 at 9. In such cases, the

petitioner’s challenges to both his conviction and his sentence are subject to dismissal because

the Court rejected the petitioners’ continuing-violation and disjunctive-adverse-inference

arguments. See Doc. 730 at 39-42; Doc. 784 at 10-12. The Court concluded that these arguments

are “inconsistent with the rule in Tollett as well as the discovery sanction,” and denied the

petitioners’ request to “clarify or rule that only pre-plea challenges to convictions are subject to

dismissal.” Doc. 784 at 16; see also Doc. 730 at 42.




         2
          Of the 36 petitioners listed in Table C, 30 are subject to dismissal under this Court’s rulings regarding the
application of Tollett to the petitioners’ cases. See Doc. 793-1 at 2.
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             The government disagrees with this ruling, see Doc. 762 at 7-8, but accepts the ruling while preserving its
objection.

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       The Court observed that petitioners’ claims based on telephone call recordings “do not

have such clearly established temporal parameters.” Doc. 784 at 8. And it declined to rule on

whether the date on which a call was first “accessed” according to Securus call access logs was

the earliest possible date a Sixth Amendment violation could have occurred. See Doc. 784 at 13-

14. But the petitioners’ notice indicates that they agree that they have no way of proving that

anyone became privy to a telephone call recording before it was first accessed on the Securus

platform, and cannot rely on an adverse inference to establish that the prosecution team became

privy to a telephone call recording before that point. See Doc. 793 at 7-8 (acknowledging that

petitioners whose calls were first accessed after they were sentenced “cannot prove anyone

actually accessed the relevant audio recordings until after the petitioners were sentenced”) (citing

the government’s motion to supplement the record, Doc. 785). Thus, any claim that is based on a

telephone call recording that was accessed before the petitioner pled guilty is subject to dismissal

under Tollett. See, e.g., Doc. 784 at 11 n.26 (explaining that although Petitioner Petsamai

Phommaseng “may not use the pre-plea audio recordings to attack both his conviction and

sentence, he may use the pre-plea video recordings to challenge his sentence, as the intrusion

could not have occurred until after he entered his plea”). But see Doc. 786 (explaining that 7 of

the 16 telephone call recordings on Phommaseng’s privilege log were accessed only because his

defense counsel requested the recordings). This does not mean that anyone actually listened to

the recordings, just that someone obtained a copy of the recording, along with other recordings,

from the Securus platform after the petitioner was sentenced.

       Understanding that this is now the second time the petitioners have sought to alter this

Court’s clear rulings regarding the application of Tollett, the government does not wish to

consume any more of the Court’s time and resources on this issue. But the government does wish



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to highlight the petitioners’ latest attempt to evade this Court’s clear rulings. In its January 18,

2021 Memorandum and Order (Doc. 730), the Court concluded, among other things, that each

petitioner who pled guilty and now challenges his conviction “is held to the applicable standard

for showing his plea was involuntary.” Doc. 730 at 39. The Court rejected the petitioners’

argument that a “per se violation [under Shillinger v. Haworth, 70 F.3d 1132 (10th Cir. 1995)]

presumptively renders a guilty plea involuntary or unknowing,” concluding that the “petitioners’

presumption-of-prejudice argument does not satisfy the applicable standard in Brady, Tollett, or

Hill.” Doc. 730 at 40 (referencing Brady v. United States, 397 U.S. 742 (1970); Tollett v.

Henderson, 411 U.S. 258 (1973); and Hill v. Lockhart, 474 U.S. 52 (1985)). The Court then

ruled that “[b]ecause no petitioner in these consolidated proceedings attempts to meet this

standard, . . . they have not established that their guilty pleas are subject to vacatur and their

§ 2255 motions are subject to dismissal on this basis.” Doc. 730 at 40.

        Instead of dismissing these cases outright, the Court “g[a]ve petitioners who allege pre-

plea violations additional time to consider whether to seek leave to amend their motions to

withdraw their respective pleas under the applicable standard for showing their guilty pleas were

involuntary.” See Doc. 730 at 40-41. The Court indicated that this category of petitioners

included those “whose Sixth Amendment claims are based on audio and/or video recordings the

USAO received before they entered their guilty pleas.” Doc. 730 at 40 n.179.

        The petitioners asked the Court to clarify or reconsider this ruling, arguing that a “pre-

plea seizure isn’t necessarily a pre-plea violation,” Doc. 756 at 2, and arguing that “petitioners

who pleaded guilty after the government obtained their recordings may logically invoke the

disjunctive adverse inference to allege pre-plea and post-plea violations,” Doc. 756 at 4. The

petitioners urged the Court to “clarify or rule that in cases where the government obtained the



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petitioners’ recordings before the plea—and therefore could have logically become privy to the

recordings either before the petitioners pleaded guilty or after they did so—the petitioners can

rely on the disjunctive adverse inference to allege both pre- and post-plea violations.” Doc. 756

at 4.

         Although the Court agreed with the petitioners “that the date the prosecution team

became privy to the protected recording marks the earliest possible violation date,” Doc. 784 at

8, it otherwise rejected the petitioners’ argument that they “can rely on the disjunctive adverse

inference to allege both pre- and post-plea violations,” Doc. 756 at 4. Doc. 784 at 8-12. The

Court declined “to ignore the date, when known, that the government actually came into

possession of recordings when determining the time at which it became privy to the recordings.”

Doc. 784 at 8. It explained that, “In cases where a petitioner challenges his conviction and the

government obtained the video recordings prior to that petitioner’s guilty plea, Tollett applies to

the alleged pre-plea violation.” Doc. 784 at 9. Thus, the Court’s rulings make clear that any

claim based on a recording the government obtained before the petitioner pled guilty is subject to

dismissal in its entirety under Tollett. See Doc. 784 at 9-12, 15-16. The Court then explained for

a second time that “these petitioners must request leave to amend their motions to seek vacatur of

their guilty pleas under the applicable standard or face dismissal of their challenges to conviction

and may not use pre-plea violations to attack their sentence.” Doc. 784 at 9.

         The Court went on to directly reject the petitioners’ attempt to “rely on the disjunctive

adverse inference to allege both pre- and post-plea violations,” Doc. 756 at 4. The Court

reiterated that it “rejected this ‘continuing violation’ theory because petitioners cited no authority

for it and because it would render meaningless the rule in Tollett.” Doc. 784 at 11. It then

“agree[d] with the government that [the petitioners’] attempt to recast [their] continuing-



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violation theory as advancing ‘dual allegations’ is both an attempted end-run around Tollett and

its progeny and inconsistent with that rule and the authority cited by the Court.” Doc. 784 at 11.

The Court concluded that it “does not clarify or rule that only pre-plea challenges to convictions

are subject to dismissal.” Doc. 784 at 11 (emphasis added). And it required that, “Any petitioner

who has a good-faith basis to allege an individualized and specific post-plea violation of this

nature must seek leave to amend his § 2255 motion and must advise the Court in the proposed

amended pleading that he is opting to have the Court presume that the government became privy

to the recordings prior to sentencing but after plea or conviction.” Doc. 784 at 11.

       The Court also rejected the petitioners’ “window of opportunity” argument, reaching the

same conclusion it did with respect to their “dual allegations” argument. As the Court described

the petitioners’ argument, the petitioners “again request[ed] the Court to apply the discovery

sanction in the disjunctive to apply to both pre-plea and post-plea violations.” Doc. 784 at 15.

The Court stated that the petitioners defined this category as including petitioners who “pleaded

guilty or were convicted on or after August 10, 2016.” Doc. 784 at 16. And it concluded that,

“[f]or the reasons previously discussed, this argument is also inconsistent with the rule in Tollett

as well as the discovery sanction,” and “[t]he Court does not clarify or rule that only pre-plea

challenges to convictions are subject to dismissal.” Doc. 784 at 16 (emphasis added). The Court

again required that, “Any petitioner who has a good-faith basis to allege an individualized and

specific post-plea violation of this nature must seek leave to amend his § 2255 motion and must

advise the Court in the proposed amended pleading that he is opting to have the Court presume

that the government became privy to the recordings prior to sentencing but after plea or

conviction.” Doc. 784 at 16.




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       Thus, under the Court’s orders, 51 petitioners’ § 2255 motions are subject to dismissal in

their entirety under Tollett, one of which (Jose Garcia-Velasquez) is also subject to immediate

dismissal for failure to provide verified interrogatory responses. See Doc. 766 at 2-3; Doc. 806.

The Court has given those petitioners until April 2, 2021, to file “individual” motions for leave to

amend their § 2255 motions. The Court also “stresse[d] that by giving petitioners additional time

to seek leave to amend their motions, it neither predicts nor guarantees the outcome of any such

individual petitioner’s request.” Doc. 784 at 19.

       In addition to the April 2, 2021 deadline, more than 40 petitioners—including Vernon

Brown whose evidentiary hearing is scheduled for June 21, 2021—still have not complied with

the Court’s order requiring each petitioner to comply with Rule 2(b)(5) of the Rules Governing

Section 2255 Proceedings. See Doc. 776; Doc. 781. Rule 2(b)(5) requires each § 2255 motion to

“be signed under penalty of perjury by the movant or by a person authorized to sign it for the

movant.” As this Court has said, the petitioners “must . . . comply, or their motions will be

dismissed.” Doc. 730 at 58. The current deadline for compliance is March 29, 2021. See Doc.

782; Doc. 783.


                                                    Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 24, 2021, the foregoing was electronically filed with the

Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing to

all counsel of record in the above-captioned case.


                                             s/ Carrie N. Capwell
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